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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                 Case No:
                                    §
vs.                                 §                 PATENT CASE
                                    §
PLEX, INC.                          §
                                    §
      Defendant.                    §
___________________________________ §

                                           COMPLAINT

       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “RBDS”) files

this Original Complaint against Plex Inc. (“Defendant” or “Plex”) for infringement of United

States Patent No. 8,856,221 (hereinafter “the ‘221 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant is a corporation organized and existing

under the laws of Delaware, with its principal place of business in Los Gatos, CA.

       5.      On information and belief, this Court has personal jurisdiction over Defendant




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because Defendant has committed, and continues to commit, acts of infringement in the state of

Texas, has conducted business in the state of Texas, and/or has engaged in continuous and

systematic activities in the state of Texas.

       6.      On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the Eastern

District of Texas.

                                               VENUE

       7.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§ 1391(c)

and 1400(b) because Defendant is deemed to reside in this district. In addition, and in the

alternative, Defendant has committed acts of infringement in this District.

                                 COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO 8,856,221)

       8.      Plaintiff incorporates paragraphs 1-7 herein by reference.

       9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       10.     Plaintiff is the owner by assignment of the ‘221 Patent with sole rights to enforce

the ‘221 Patent and sue infringers.

       11.     A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast

Content in a Cloud-based Computing Environment,” is attached hereto as Exhibit A.

       12.     The ‘221 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least Claim 1, of the ‘221 Patent by making, using, importing,

selling, and/or offering for media content storage and delivery systems and services covered by



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one or more claims of the ‘221 Patent.

       14.     On information and belief, Defendant sells, offers to sell, and/or uses media

content storage and delivery systems and services, including, without limitation, the Plex Pass

system and service, which infringes at least Claim 1 of the ‘221 Patent.

       15.     On information and belief, the Plex Pass system necessarily includes at least one

server for hosting and storing media content for customers.

       16.     On information and belief, the at least one server necessarily includes a receiver

to receive request messages from customers. On information and belief, customers may send

messages to the server (e.g., via selections and signals generated by remote control or otherwise).

       17.     On information and belief, a message received from a customer includes media

data indicating the media content that the customer wishes to view. Plex Pass customers send

their media storage and delivery selections to Defendant’s Plex Pass system and the transmission

of those messages is accomplished over the Internet. On information and belief, the media data

received by Defendant’s server(s) also includes a consumer device identifier. By way of

example, Plex Pass limits access to certain content to specific compatible devices. Also, on

information and belief, access to certain content is based upon a customer’s subscription, and

thus a customer’s device must be associated with a customer in order for the device’s access to

content to be dictated by a customer’s subscription status. The Plex Pass system accomplishes

the forgoing through the use of a Login screen which allows a user to enter ID and password

information.

       18.     On information and belief, the Plex Pass system necessarily includes a processor

to determine whether the customer’s device is registered. Again, by way of example, Plex Pass

restricts certain content types to particular user devices. Defendant’s system has to be able to




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determine whether the device in question is a registered device.

       19.     The Plex Pass system provides for both media downloads and media streaming.

On information and belief, a processor within Defendant’s system necessarily determines

whether the request received from a customer is a request for storage (e.g., download of media

content) or content (e.g., streaming of media content).

       20.     Plex Pass advertising indicates that the Plex Pass system places limits on the types

of devices that can stream or download content. Therefore, on information and belief, a processor

must determine whether requested content within a storage request is, in fact, available for

storage (e.g., on the particular device associated with the request).

       21.     If a customer requests content (e.g., streaming of media content), then, on

information and belief, a processor within the Plex Pass system necessarily initiates delivery of

the content to the customer’s device.

       22.     The Plex Pass system provides both streaming content and download content. In

either case, for at least certain media content delivery, Defendant’s system provides for a certain

time period that the delivered content, or content ready for delivery, may be accessed and stored.

As an example, the Plex Pass system provides for different subscription lengths, with the content

being available for the time of the length of the subscription. After the applicable time, the

content is no longer available. Therefore, on information and belief, the media data within a

request message necessarily includes data indicating a length of time for accessing and storing

requested content.

       23.     On information and belief, not all requested content will exist in the Plex Pass

system. Also, as previously stated, Plex Pass limits delivery of content to particular devices.

Therefore, on information and belief, a processor within the Plex Pass system necessarily




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determines whether content is available and whether there are restrictions associated with a

customer’s content request that prevent the content from being delivered.

          24     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          25.    Defendant’s actions complained of herein is causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          26.    Plaintiff is in compliance with 35 U.S.C. § 287.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)    Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receives notice

of the order from further infringement of United States Patent No. 8,437,797 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)    Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

          (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.




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Dated: April 13, 2016                 Respectfully submitted,


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                                 EXHIBIT A




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